Case 2:09-cv-02001-SHM-cgc Document 29 Filed 02/24/10 Page 1 of 1   PageID 247


                      UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF TENNESSEE
                            WESTERN DIVISION




R.T. WYNNE, Beneficiary of
Life Insurance of Joyce M. Wynne,
Deceased,

            Plaintiff,

v.                                                   Cv. No. 09-2001-Ma

STONEBRIDGE LIFE INSURANCE
COMPANY,

            Defendant.




                              JUDGMENT

     Decision by Court. This action came for consideration before
the Court. The issues have been duly considered and a decision has
been rendered.

     IT IS ORDERED AND ADJUDGED that this action is dismissed in
accordance with the Order Granting Defendant’s Motion for Summary
Judgment, docketed February 22, 2010.



APPROVED:

S/ Samuel H. Mays Jr.
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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

February 22, 2010                        THOMAS M. GOULD
DATE                                     CLERK
                                         S/ Jean Lee
                                         (By) DEPUTY CLERK
